Case 01-01139-AMC Doc141 Filed 04/23/01 Pageiof3

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IN THE UNITED STATES BANKRUPTCY COURT
FOR DISTRICT OF NEW JERSEY

In re:

)

)

) Chapter 11

)CASE NO. 01-1139 (WFW) through
)CASE NO. 01-1200 (WFW)

Debtor. )

)

W.R. GRACE & CO., et al

NOTICE OF APPEARANCE AND
REQUEST FOR SERVICE OF PAPERS

PLEASE TAKE NOTICE that, pursuant to Section 1 109(b) of the Bankruptcy Code
and Bankruptcy Rules 2002(j)(4), 3017(d), 9007, and 9010(b), Joseph F. Albers, Rose M.
Caperna, Freddie French, and Stephen J. Holmes, Personal Representative of the Estate of
Charles L. Carnes, Jr., deceased, and others too numerous to include therein, (hereinafter
“Creditors”), creditors in the above-captioned bankruptcy case, hereby appears by its attorneys,

The Law Offices of Peter G. Angelos, P.C. and requests that all notices given or required to be

given and all papers, served or required to be served in this case be given to and served upon the

undersigned attorneys, at the address and telephone numbers forth below:
The Law Offices of Peter G. Angelos, P.C.
Attn: Paul M. Matheny, Esq.
5905 Harford Road
Baltimore, Maryland 21214
(410) 426-3200
(410) 426-6166 (fax)
PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the

Bankruptcy Code, the foregoing request includes not only the notices and papers referred to in

the rules specified above but also includes, without limitations, any notices, order, applications,

motions, petitions, pleading, requests, complaints or demands, and any other document brought

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Case 01-01139-AMC Doc141 Filed 04/23/01 Page 2 of 3

; before the Court in this case, whether or informal, whether written or oral, and whether

transmitted or conveyed by mail, delivery, telephone, telegraph, telex, or otherwise.

Dated: Zr Ae, 200f Respectfully submitted,

M. Matheny
AW OFFICES OF PETER G. GELOS, P.C

5905 Harford Road
Baltimore, Maryland 21214
(410) 426-3200

(410) 426-6166 (fax).

Case 01-01139-AMC Doc141 Filed 04/23/01 Page 3of3

CERTIFICATE OF SERVICE

I certify that a copy of the foregoing pleading has been served upon counsel for all parties
to this proceeding by mailing the same to each by First Class United States mail, properly
addressed and postage prepaid on this Zo! “day of April, 2001.

LEY MAE

PAUL M. MATHENY

